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                                    UNITED STATES BANKRUPTCY COURT                               20 V~y 9 PH 2: 3O
                                   SOUTHERN DISTRICT OF OHIO (DAYTON)                            R,C>u:,1:0 J0. E2'
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     INRE:                                                 *                         CASE Nd! !f9~ om1:Ji'CY cou T
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     TAGNETICS INC.                                        *                         CHAPTER 7
     INVOLUNTARY DEBTOR                                    *

                       MOTION TO HOLDT AGNETICS IN CRIMINAL CONTEMPT

                         FROM: Jonathan Hager, Kenneth Kayser, and Ronald Earley



     Pro se parties for the Tagnetics Involuntary Bankruptcy Case 19-30822 move this Court to hold Tagnetics
     in Criminal Contempt for their deliberate disobedience to the Court's Order, Order Granting in Part
     Tagnetics ' Motion to Enforce Settlement Agreement and Ordering Other Matters [Doc. No. 119). As of
     May 13, 2020, no payments have been made to the pro se parties and no correspondence has been received
     regarding said payments.

     In support of this Motion, the prose parties state the following:

     The pro se parties appreciate the Bankruptcy Courts' efforts to enforce compliance by issuing the Order
     Granting Petitioning Creditors ' Motion for Contempt [Doc. No. 145} on February 11, 2020. Provisions for
     additional interest as an attempt to remedy the lack of compliance has not triggered any action by Tagnetics.
     The pro se parties had offered an additional settlement for Tagnetics consideration that would have provided
     them with the release language they sought but they dismissed that offer in hopes of prevailing in their
     Appeal. The United States District Court for the Southern District of Ohio Western Division at Dayton
     affirmed the Bankruptcy Court decision on April 27, 2020 [Case 3:19-cv-00363-TMR Doc. No. 16). The
     Order Granting in Part Tagnetics ' Motion to Enforce Settlement Agreement and Ordering Other Matters
     [Doc. No. 119) has been affirmed and must be followed. The pro se parties have not received any
     correspondence from Tagnetics since that decision.

     The pro se parties move for the Bankruptcy Court to consider more aggressive action to enforce the Court
     Order and to vindicate the authority of the Court. The motion is to find Tagnetics in criminal contempt for
     blatant disregard for the Courts' requirements. Since a corporation is only able to act through its agents,
     thts motion requests the eourt to tind those who are otlicially responsible ti:>r the conduct ot t'agnetics
     affairs to be in criminal contempt. Despite the clear explanation of Tagnetics obligations provided by the
     Order Granting Petitioning Creditors' Motion for Contempt [Doc. No. 145}, Tagnetics management has
     not taken any action to compiy. The tinding of civil contempt was a means to compensate the pro se parttes
     for the delays in payment. The continued disrespect to the court's authority requires more drastic punitive
     action.
    The pro se parties also encourage the Bankruptcy Court to consider the lack of action by Tagnetics when
    considering the disposition of Attorney Fees. The Court had delayed the decision on the Attorney fees
    awaiting the outcome of the Appeal. If the Court does determine that Tagnetics is entitled to recover some
    or all of their attorney fees requested in their Application for Attorney Fees as Compensatory Damages
    Pursuant to the Court's October 25, 2019 Order [Doc. No. 134], the prose parties encourage the Court to
    consider making those fees offset the "Balance", or fourth payment, listed on the payment schedule of the
    Order Granting in Part Tag,,etics ' Motion to Enforce Settlement Agreement and Ordering Other Matters
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     [Doc. No. 119] payable upon the next liquidity event. The lack of compliance shown by Tagnetics should
     not enable them to recover funds from the prose parties at any earlier instance.
     The records that are available indicate the following individuals arc responsible for the operations of
     Tagnetics. Tagnetics corporate records should indicate the current contact infonnation for these individuals.
     John White. CEO
     Lawrence McWilliams, co-CEO
     Donald Sackman. Director
     Vincent Browning, Director
     August Klein, Director
     Robert Tobin, Director
     Edward Quinn, Director


     Respectfully su mine~ May 19, 20::!0.
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                                         CERTIFICATE OF SERVICE
   I hereby certify that on May 19, 2020, a copy of the foregoing, a copy of the foregoing Motion to Hold
   Tagnetics in Criminal Contempt was (i) submitted to the Clerk of the Court at the Courthouse and (ii)
   electronically by email to counsel for Tagnetics, Inc. to



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